8:02-cr-00419-LES-TDT   Doc # 131   Filed: 05/29/07   Page 1 of 1 - Page ID # 740



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:02CR419
                              )
          v.                  )
                              )
JEVAUGHN D. ERWIN,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

under 28 U.S.C. § 2255 to vacate, set aside or correct sentence

by a person in federal custody (Filing No. 130).              The Court finds

plaintiff should file a response thereto.             Accordingly,

           IT IS ORDERED that plaintiff shall file a response to

said motion on or before July 13, 2007.

           DATED this 29th day of May, 2007.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
